     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 1 of 31




          IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF FLORIDA
                  TALLAHASSEE DIVISION


ANDREW H. WARREN,

                   Plaintiff,              Case No. 4:22-cv-302-RH-MAF
v.
RON DESANTIS, individually and in
his official capacity as Governor of the
State of Florida,

               Defendant.
___________________________________

PLAINTIFF’S CONSOLIDATED REPLY IN SUPPORT OF MOTION FOR
 PRELIMINARY INJUNCTION, AND RESPONSE IN OPPOSITION TO
                   MOTION TO DISMISS
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 2 of 31




      Plaintiff Andrew Warren’s Verified Complaint and his Motion for
Preliminary Injunction (“Motion”) demonstrate that Defendant Ron DeSantis ousted

Warren from his elected office for “speak[ing] freely on questions of government
policy,” Houston Community College System v. Wilson, 142 S.Ct. 1253, 1261
(2022), and exercising prosecutorial discretion differently than DeSantis would like.
In suspending Warren, DeSantis violated the First Amendment and the Florida
Constitution, and Warren is entitled to an injunction to remedy these violations.
      In his brief, DeSantis fails to establish otherwise. Instead, he demonstrates

that he misunderstands not only the office to which he was elected, but also the office
to which Warren was twice elected. DeSantis cannot justify retaliating against
Warren for Warren’s speech because Warren is not his employee and because courts,
not the governor, define the standards for suspension under the Florida Constitution.
Nor can DeSantis avoid answering in court for his illegal actions by hiding beneath
the cloak of sovereign immunity because Florida—not DeSantis—is the sovereign.
                                     Argument
      DeSantis seeks two things: denial of a preliminary injunction under Rule 65
and dismissal of the Complaint under Rule 12(b)(6). In evaluating Warren’s Motion,
the Court must review the parties’ evidentiary submissions and determine if Warren
satisfies the preliminary-injunction factors. See Swain v. Junior, 961 F.3d 1276,
1284–85 (11th Cir. 2020). Under Rule 12(b)(6), the Court must “accept as true the
facts set out” in Warren’s Complaint and exhibits, construe them in Warren’s favor,
and determine if Warren states facially plausible claims. Daniels v. Select Portfolio
Servicing, Inc., 34 F.4th 1260, 1263, 1266 (11th Cir. 2022). Here, Warren not only


                                          2
      Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 3 of 31




states plausible claims, but also establishes he will likely succeed on them. Finally,
Warren establishes he is entitled to injunctive relief.

I.    Warren adequately states two claims, on which he is likely to succeed.
      A.     Warren adequately pleads a First Amendment claim, on which he
             is likely to succeed.
      Warren is likely to succeed on his claim that DeSantis retaliated against him
for exercising his First Amendment right to speak because (1) he engaged in
“speech” that was “constitutionally protected”; (2) he suffered an adverse action;
and (3) “there is a causal connection between the retaliatory actions and the adverse
effect on speech.” Bennett v. Hendrix, 423 F.3d 1247, 1250 (11th Cir. 2005). In his

response, DeSantis does not dispute the second prong. He instead focuses on the first
and third prongs, arguing: (1) Warren’s speech was unprotected under a line of
Supreme Court cases that applies to public employees rather than elected officials,

and (2) Warren was not suspended for his speech. DeSantis’s arguments fail.

             1.     Warren engaged in protected speech.
      Warren adequately alleges and is likely to succeed in showing that his speech
was constitutionally protected. To establish the first element of a retaliation claim,
an elected official need only demonstrate he engaged in speech that “express[ed]
[his] views on issues of policy.” Bond v. Floyd, 385 U.S. 116, 136 (1966). Such

speech is protected because of the “role that elected officials play in our society,”
which “makes it all the more imperative that they be allowed freely to express
themselves on matters of current public importance.” Wood v. Georgia, 370 U.S.
375, 394–95 (1962).



                                           3
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 4 of 31




      Here, the first prong is “readily met” because Warren is an “elected official[]”
who “express[ed] [his] views and opinions” on controversial issues of public debate.

Boquist v. Courtney, 32 F.4th 764, 775 (9th Cir. 2022). He signed two statements,
one on gender-affirming care and one on abortion (“Joint Statements”). [DE1 ¶¶ 33–
34]1 The Joint Statements, opining on significant public-policy issues, are “at the

core of activity protected by the First Amendment” and are protected speech.
Beckwith v. City of Daytona Beach Shores, 58 F.3d 1554, 1564 (11th Cir. 1995).
      That such speech by elected officials is protected has been established at least
since the Supreme Court decided Wood, 370 U.S. 375, and Bond, 385 U.S. 116.
Indeed, just this year, the Supreme Court reiterated that “[t]he First Amendment
surely promises an elected representative . . . the right to speak freely on questions
of government policy.” Wilson, 142 S.Ct. at 1261.2
      DeSantis argues (at 12–15) that this Court should nonetheless disregard Bond
and Wood (and presumably Wilson), and instead apply a modified First Amendment
framework applicable to cases in which the government—in its role as employer—
discharges or disciplines its employees based on their speech. See Garcetti v.
Ceballos, 547 U.S. 410, 414–15 (2006) (public employee sued his supervisors for

      1
        Docket entry (“DE”) page citations refers to ECF-assigned pagination.
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         DeSantis argues (at 10) that the reasoning of Bond and Wood (and
presumably Wilson) does not apply to First Amendment claims arising from speech
that an elected official, like Warren, made in his official capacity. But whatever the
line between an elected official’s personal and official speech, the First Amendment
protection in these cases does not turn on the capacity in which the official spoke.
Indeed, in Bond and Wilson the Court never mentioned this supposed distinction.
Only in Wood did the Court note that the speaker spoke “as a private citizen,” but
the Court confirmed it did “not rely on th[is] point exclusively.” 370 U.S. at 393.


                                          4
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 5 of 31




“retaliatory employment actions”); Pickering v. Bd. of Ed. of Twp. High Sch. Dist.
205, 391 U.S. 563, 564 (1968) (teacher sued school board after the board dismissed

him from employment).
      Under those cases, an employee must demonstrate that he “spoke as a citizen
on a matter of public concern,” Garcetti, 547 U.S. at 418, and his interests in
speaking outweigh “the interest of the State, as an employer, in promoting the
efficiency of the public services it performs through its employees,” Pickering, 391
U.S. at 568. This makes sense: “Government employers, like private employers,

need a significant degree of control over their employees’ words and actions” to
ensure “the efficient provision of public services,” and an employee’s speech might
“contravene” his employer’s policies “or impair the proper performance of
governmental functions.” Garcetti, 547 U.S. at 418–19.
      But “[t]he rationale for allowing the government to restrict the speech of
government employees and contractors is not applicable to elected officials. Such
elected officials are not speaking as employees of the government.” Boquist, 32
F.4th at 779. Their speech cannot “impair the proper” functioning of government.
Garcetti, 547 U.S. at 418–19. To the contrary, an elected official’s speech—even
criticism—regarding government policy “is a vital component of his duties because
‘[elected officials] have an obligation to take positions on controversial political
questions so that their constituents can be fully informed by them.’” Boquist, 32
F.4th at 780 (quoting Bond, 385 U.S. at 136–37); see also Sheet Metal Workers’ Int’l
Ass’n v. Lynn, 488 U.S. 347, 355 (1989) (“The consequences of the removal of an
elected official are much different. . . . Not only is the fired official likely to be


                                          5
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 6 of 31




chilled in the exercise of his own free speech rights, but so are the members who
voted for him.”).

      Indeed, other courts confronted with this question have agreed that Garcetti
and Pickering do not apply to elected officials like Warren.3 See, e.g., Boquist, 32
F.4th at 780 (holding that “an elected official’s speech is protected regardless [of]

whether the official is speaking ‘as a citizen upon a matter of public concern’” and
that “the Pickering balancing test [does not] apply to an elected official’s claim of
First Amendment retaliation by the official’s elected peers”) (citation omitted);
Phelan v. Laramie Cnty. Cmty. Coll. Bd. of Trs., 235 F.3d 1243, 1247 (10th Cir.
2000) (“The Pickering line of cases” does not apply because when the plaintiff is an
elected official, “not a governmental employee or contractor,” the “case [does] not

involve the government’s exercise of contractual power or its ‘daily management
functions,’ factors which form the underlying factual basis for judicial deference and
the application of the Pickering approach in the governmental employee and
contractor contexts[.]”); Rangra v. Brown, 566 F.3d 515, 522–24 (5th Cir.) (same),
vacated on mootness grounds on reh’g en banc, 584 F.3d 206 (5th Cir. 2009).4

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         DeSantis argues (at 12) that “[i]t is unclear whether [Bond and Wood]
survive Garcetti,” a case about a public employee. But less than one year ago, in
Wilson, the Supreme Court reviewed whether an elected official stated a First
Amendment retaliation claim. 142 S.Ct. at 1257–59. Unsurprisingly, the Court cited
Bond and Wood and discussed Bond. Id. at 1263–64. The Court did not suggest that
either case was in jeopardy. And the Court nowhere mentioned the relaxed
protections described in those cases for unelected public employees. Given
DeSantis’s failure to even cite Wilson (decided in 2022), DeSantis’s suggestion that
Bond and Wood did not “survive” Garcetti (decided in 2006) is meritless.
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        Instead of grappling with these cases, DeSantis (at 13 n.3) refers to an Eighth
Circuit case that assumed Garcetti applied in a footnote without analysis, Parks v.


                                          6
      Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 7 of 31




      Further, DeSantis mischaracterizes the facts to argue that Warren is his
employee, requiring the modified framework for public employees. Wrong.

      DeSantis claims (at 13–14)—without authority—that he is a “superior official
tasked with ensuring [Warren] perform[s] [his] duties” and that Warren is merely a
“public employee” under DeSantis’s control and subject to his discipline. But both
DeSantis and Warren are elected officials who serve and report to the voters who
elected them, not to any government “employer” or “supervising officer.” Jenevein
v. Willing, 493 F.3d 551, 557 (5th Cir. 2007) (When it comes to elected officials,

“the ‘employer’ is the public itself, at least in the practical sense, with the power to
hire and fire.”). Indeed, state attorneys are, intentionally, independent from such
influence. See Valdes v. State, 728 So.2d 736, 739 (Fla. 1999) (noting that “state
attorneys fulfill a unique role, which is both quasi-judicial and quasi-executive” and
that “[t]his unique role is due to the tradition of their exclusive discretion in
prosecution, combined with their status as officers of the court”).
      State attorneys do not act or speak on behalf of the governor. Nor does the
governor decide to “employ” state attorneys; the voters do. See Fla. Const. art. V,
§ 17. Furthermore, whereas the governor’s office is created by Article IV of the
Florida Constitution (Executive), Warren’s office is created by Article V (Judiciary).

City of Horseshoe Bend, 480 F.3d 837, 840 & n.4 (8th Cir. 2007), and two district-
court cases, Hartman v. Register, No. 06-CV-33, 2007 WL 915193, at *6 (S.D. Ohio
Mar. 26, 2007); Hogan v. Twp. of Haddon, No. 04–2036, 2006 WL 3490353, at *7
(D.N.J. Dec. 1, 2006). But none involved an adverse action that interfered with an
elected official’s ability to perform his elected duties, like here. Each case also
predates Wilson, which emphasized that excluding an elected official from office
implicates not only his interest in speaking but also “the franchise of his
constituents.” 142 S.Ct. at 1263.


                                           7
      Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 8 of 31




      That Florida law affords DeSantis the ability to suspend state attorneys under
extreme circumstances does not transform DeSantis into Warren’s employer. Florida

law simply does not empower a governor to regulate the speech of state attorneys to
maintain office relations or the smooth functioning of government.5

             2.     DeSantis does not dispute that suspending Warren was
                    adverse action.
      Next, Warren adequately pleads and is likely to establish the second element
of his First Amendment claim, that DeSantis subjected him to adverse action.
Bennett, 423 F.3d at 1250. The action of suspending Warren would “deter a person

of ordinary firmness from the exercise of First Amendment rights.” Bailey v.
Wheeler, 843 F.3d 473, 481 (11th Cir. 2016) (citation omitted). DeSantis’s
Executive Order “prevent[s] [Warren] from doing his job” and “den[ies] him” every
“privilege of office,” Wilson, 142 S.Ct. at 1255, effectively nullifying a popular vote.
In his response, DeSantis does not dispute that Warren’s suspension is a qualifying
adverse action. As a result, Warren will prevail on this element.

             3.     DeSantis suspended Warren in retaliation for the Joint
                    Statements, and DeSantis does not demonstrate otherwise.
      Finally, Warren adequately pleads and will prevail on the third prong because
the uncontradicted evidence establishes “there is a causal connection between the

retaliatory actions and the adverse effect on speech.” Bennett, 423 F.3d at 1250.



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        DeSantis argues (at 14–15) that even if Warren was speaking in his personal
capacity his speech was still unprotected under the First Amendment. This argument
misses the point. Warren is not a public employee, and it does not matter in what
capacity he made his speech.


                                           8
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 9 of 31




      Warren submitted declarations and other evidence, including a verified
complaint, establishing that DeSantis issued the Order because Warren signed the

Joint Statements, with which DeSantis disagreed. The Order itself attaches the Joint
Statements and discloses that the primary reason for the suspension is that Warren
allowed his name to be added to Joint Statements expressing views “in support of”
gender-affirming healthcare and against criminalizing certain abortions. [See DE1-1
at 4 (describing Joint Statement on gender-affirming healthcare), 5–8 (discussing
abortion and Joint Statement), 12–30 (the Joint Statements)] These are topics subject

to intense political debate and on which DeSantis and Warren disagree. [DE1 ¶¶ 47–
56 (political rivalry and clash between Warren and DeSantis on abortion); DE3-1 at
6–7 (clash on abortion, gender-affirming care, and more); DE3-7 & DE3-8 (same)]
      DeSantis suspended Warren shortly after he signed the Abortion Statement in
a manner intentionally aimed at humiliating him and garnering political favor with
DeSantis’s base. [See DE1 ¶¶ 58–64; DE3-5; DE3-6] DeSantis immediately
appointed a political ally to perform Warren’s elected duties during the suspension.
[DE1-1 at 11; DE1 ¶¶ 70–76] And DeSantis took no action when other state officials,
with whom he aligns, spoke out about exercising their discretion as Warren did here.
[DE3-1 at 16; DE3-14; DE3-15; DE3-16]
      Warren’s burden to establish a prima facie case of retaliation “is not a heavy
one,” Beckwith, 58 F.3d at 1564, and the evidence here more than carries it. See
Boquist, 32 F.4th at 776.
      Warren having carried his burden, “the burden shifts to [DeSantis] to
demonstrate that even without the impetus to retaliate he would have [suspended


                                         9
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 10 of 31




Warren].” Hartman v. Moore, 547 U.S. 250, 260 (2006). Tellingly, DeSantis offers
no evidence to even attempt to carry the burden he now bears. Instead, he merely

asks this Court to accept his unsupported factual gloss for Warren’s suspension.
      Again, Warren’s First Amendment claim is premised on the Joint
Statements—written statements expressing political opinions and joined by dozens
of prosecutors. [DE1 ¶¶ 61–64] Yet DeSantis insists (at 15–18) Warren’s suspension
was not based on the Joint Statements.6 He claims (at 5, 18) that he suspended
Warren “for the conduct that his words conveyed,” citing four supposed “blanket
non-enforcement policies.”
      The evidence is to the contrary; Warren has not refused to categorically
enforce any law. The Joint Statements do not cite a single Florida law, do not
announce any official policy, and do not categorically refuse to exercise discretion.7
The Joint Statements speak in general terms about general principles in which
Warren and his co-signers believe. They are not prosecutorial directives, nor are they
“blanket decision[s] not to enforce certain Florida laws.” [DE30 at 15]
      Several actual policies and directives of Warren’s Office are, though, in
evidence. One makes clear that “ASAs must exercise discretion” in “every case” at

“every stage” [DE1-2 at 3; DE3-2 ¶¶ 4–5], and a declaration confirms again that
Warren always “exercise[s] [his] prosecutorial discretion on a case-by-case basis”
and has not “categorically refuse[d] to prosecute any particular kind of case,” [DE3-

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         DeSantis does not even seem to dispute that the Joint Statements are speech.
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         With no answer to the fact that the Joint Statements are speech, DeSantis
insists that the Non-Prosecution Policies are conduct, not speech. But Warren’s First
Amendment claim is not based on the Non-Prosecution Policies.


                                         10
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 11 of 31




2 ¶¶ 3, 16]. See Bond, 385 U.S. at 134 (holding there was no evidence of “any
incitement to violation of law” based on elected official’s statements opposing the

war, where he clarified that “I do not advocate that people should break laws” and
simply “admired the courage of someone who could act on his convictions”).
      Furthermore, the crux of DeSantis’s argument (at 17) is that he “removed
[Warren] because he made his decision.” In support of this argument DeSantis cites
several cases for the proposition that conduct (as opposed to speech) usually is
unprotected by the First Amendment. But this argument, and the cases it relies on,

do not apply here. No decision was ever made through the Joint Statements; the
Verified Complaint and exhibits to the Motion confirm as much. [E.g., DE3-2 ¶¶ 3–
5, 14–18] DeSantis offers no evidence to the contrary (and indeed there is none).

      B.    Warren has adequately stated his quo warranto claim and is likely
            to succeed on it.
      Like his first claim, Warren is likely to succeed on the merits of his second
claim—that DeSantis unlawfully suspended Warren merely because he signed
statements expressing his political views and issued charging guidelines for
prosecutors in his office. DeSantis discourages this Court from considering this
claim, for numerous reasons. None succeed.

            1.     DeSantis unlawfully suspended Warren for expressing his
                   political views and exercising prosecutorial discretion when
                   issuing charging guidelines.
      “Quo warranto is used ‘to determine whether a state officer or agency has
improperly exercised a power or right derived from the State.’” Israel v. DeSantis,




                                        11
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 12 of 31




269 So.3d 491, 494 (Fla. 2019) (quoting League of Women Voters of Fla. v. Scott,
232 So.3d 264, 265 (Fla. 2017)).

      The parties largely agree on the standards governing this claim. Under the
Florida Constitution, a governor may suspend a state attorney only for certain
enumerated grounds, including “incompetence” and “neglect of duty.” Fla. Const.
art. IV, § 7(a). DeSantis agrees (at 22–23) that “[i]ncompetenc[e]” refers to a
“physical, moral, or intellectual quality, the lack of which incapacitates one to
perform the duties of his office.” Israel, 269 So.3d at 496 (emphasis added) (quoting

State ex rel. Hardie v. Coleman, 155 So. 129, 133 (Fla. 1934)). By comparison,
“neglect of duty” refers “to the neglect or failure on the part of a public officer to do
and perform some duty or duties laid on him as such by virtue of his office or which
is required of him by law.” Id. (quoting Hardie, 155 So. at 132).
      Here, none of the reasons cited in DeSantis’s Order qualify—as a matter of
law—as either “incompetence” or “neglect of duty.”

                    a)     DeSantis concedes that, as to the statement on gender
                           issues, Warren “has not yet had occasion to neglect his
                           duty.”
      DeSantis unlawfully suspended Warren because “he signed a ‘Joint
Statement’ with other elected prosecutors in support of gender-transition treatments

for children and bathroom usage based on gender identity.” [DE1-1 at 4 (emphasis
added)] In signing this statement, Warren expressed his political views on the topic,
only. No Florida law criminalizes any such conduct, in fact, as DeSantis admits. [Id.;
DE30 at 26–27] Simply expressing these views is not a “physical, moral, or




                                           12
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 13 of 31




intellectual quality, the lack of which incapacitates [Warren] to perform the duties
of his office,” to qualify as “incompetence.” Israel, 269 So.3d at 496 (citation

omitted). Nor, as a matter of law, can Warren expressing his views on a topic—not
prohibited under Florida law—qualify as neglecting or failing “to do and perform
some . . . duties laid on him as such by virtue of his office or which is required of
him by law,” to suffice for “neglect of duty.” Id. (citation omitted).
      DeSantis, in fact, concedes that “[Warren] has not yet had occasion to neglect
his duty.” [DE30 at 27] By DeSantis’s own concession—and because Warren cannot

neglect a duty to enforce a law that does not exist—neglect of duty cannot apply
here as a matter of law.
      On incompetence, DeSantis argues that Warren’s political views “ma[k]e
abundantly clear that [he] will not authorize his office to charge violations of any
such criminal laws the Florida Legislature might adopt in the future” and that “his
erroneous understanding of the relationship between the legislature and state
attorneys proves incompetence.” [Id. at 26, 27] As much as DeSantis would like,
though, political views different than his own do not create a “physical, moral, or
intellectual quality” that “incapacitates [a public official] to perform the duties of his
office.” Israel, 269 So.3d at 496 (citation omitted). Accepting DeSantis’s argument,
moreover, would allow the governor to suspend elected officials simply for
expressing political views on hot-button topics. The First Amendment does not
permit such governmental retaliation, as established above (at 3–11). To avoid this
constitutional issue, “the Court [should] construe [the governor’s suspension power]




                                           13
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 14 of 31




to avoid such problems.” Burban v. City of Neptune Beach, 920 F.3d 1274, 1282
(11th Cir. 2019) (citation omitted).

                   b)     DeSantis cannot rewrite Warren’s charging guidelines
                          that require individualized, case-specific assessments.
      In his Order, DeSantis also faulted Warren for issuing charging guidelines and
priorities for the prosecutors in his office. A prosecutor’s discretion “in deciding
whether and how to prosecute” is “absolute.” McGinley v. Fla. Dep’t of Highway
Safety & Motor Vehicles, 438 F. App’x 754, 757 (11th Cir. 2011) (per curiam)
(quoting State v. Cain, 381 So.2d 1361, 1367 (Fla. 1980)), superseded by statute on

other grounds as stated in Banks v. State, 520 So.2d 43, 46 (Fla. 1st DCA 1987).
And “prosecutorial discretion requires a state attorney to make ‘case-specific’ and
‘individualized’ determinations as to whether the facts warrant prosecution,” as
DeSantis admits. [DE1-1 at 3 (quoting Ayala v. Scott, 224 So.3d 755, 758–59 (Fla.
2017))]
      Both policies at issue satisfy those requirements. Under the policy for
pedestrian and bicycle violations, for example, prosecutors may file charges when,
“based on the facts and circumstances of the case, the public safety needs of the
community outweigh the presumption to not file the case.” [DE1-4 at 3] And the
policy concerning certain misdemeanors includes a non-prosecution “presumption
[that] may be overcome by significant public safety concerns, such as pending felony
charges,” among several other circumstances. 8 [DE1-3 at 2] Though guided by

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        Based on this exclusion, and as Warren explains elsewhere [see, e.g., DE1
¶ 45], DeSantis is wrong that prosecutors may not “charge these misdemeanors in
some instances” [DE30 at 24].


                                        14
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 15 of 31




presumptions, both policies require “case-specific,” “individualized” assessments.
Ayala, 224 So.3d at 758–59. Stated otherwise, Warren advised his prosecutors to do

precisely what Florida law requires: to exercise prosecutorial discretion in charging
decisions. And because that is what the law requires, neither policy creates, as a
matter of law, grounds for either “incompetence” or “neglect of duty.” 9

      DeSantis concedes (at 16) that both these policies contain “presumpti[ons]”
only. He further concedes (at 23) that at least one policy contains, as he frames it, a
“small exception” for “crimes posing a ‘direct threat to public safety, such as where
an individual has suffered physical harm or where a firearm is involved.’” He
nevertheless contends that these policies are categorical, blanket policies
indistinguishable from Ayala. Not so. These presumptive policies are a far cry from
the policy at issue in Ayala: “[a state attorney]’s blanket refusal to pursue the death
penalty in any case.” 224 So.3d at 758. Unlike Ayala, Warren’s guidelines explicitly
allow such charges and require prosecutors to apply those guidelines to determine

whether to file charges. [See DE3-2 ¶¶ 9–10]



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         DeSantis claims (at 23) that Warren deprioritized charges arising from non-
criminal interactions between police and bicyclists because, supposedly, Warren
found these interactions “unsavory.” Not quite. Warren did not deem such charges
unsavory; he determined—after “meeting[] with community members,”
“analyz[ing] criminal justice data, and examin[ing] actual cases” [DE1 ¶ 41]—that,
in typical cases, these charges “have limited public safety benefits,” “undermine
trust within the communities,” and “disproportionately burden Black citizens of
Hillsborough County” [DE1-4 at 2]. By exercising his “absolute” discretion “in
deciding whether and how to prosecute” these cases, McGinley, 438 F. App’x at 757
(quoting Cain, 381 So.2d at 1367), Warren acted no differently than if he had
prioritized resources on capital murder cases over jaywalking tickets.


                                          15
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 16 of 31




      For the policy on pedestrian and bicycle violations (but not the other policy),
DeSantis separately contends (at 24) that Warren’s charging guidelines—indeed, it

seems, any charging guidelines—establish incompetence or neglect of duty because
“[prosecutors] lack the freedom to charge as appropriate,” meaning without any
restraint. But this contention contravenes Florida law: “Under Florida’s constitution,
the decision to charge and prosecute is an executive responsibility, and the state
attorney has complete discretion in deciding whether and how to prosecute.” State
v. Bloom, 497 So.2d 2, 3 (Fla. 1986) (citing Fla. Const. art. II, § 3 (separation of

powers)).10

                   c)     DeSantis cannot pretend that Warren’s political view
                          on abortion is a blanket, categorical policy.
      Under the last reason cited in the Order, DeSantis unlawfully suspended
Warren for “a letter signed by a group of prosecutors after the Dobbs decision.”
[DE30 at 25] This signature does not qualify as either “incompetence” or “neglect
of duty,” as Warren’s Motion (at 26–28) establishes.
      In this statement, Warren simply expressed his political views. Critically, he
and numerous other prosecutors opposed using their “offices’ resources to
criminalize reproductive health decisions” and vowed “to prosecute only those cases
that serve the interests of justice and the people.” [DE1-1 at 22, 24] Warren’s
uncontroverted declaration, in fact, confirms he never “instituted any policy that


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         DeSantis also argues (at 24) that this policy establishes incompetence and
neglect of duty because it “erod[es] respect for law enforcement and the legislature’s
enactments.” This argument is meritless. Neither such “erosion” (even assuming it
exists) qualifies as “incompetence” or “neglect of duty.”


                                         16
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 17 of 31




applied specifically to cases involving abortion,” nor was he even “referred a
criminal case arising from abortion in violation of” Florida law. [DE3-2 ¶¶ 17, 19]

Because Warren simply expressed his views on the topic and vowed to use
prosecutorial discretion in charging such cases, the Order fails to allege either
“incompetence” or “neglect of duty.” Israel, 269 So.3d at 496 (citation omitted).
      DeSantis contends that “Warren cannot evade responsibility for that statement
by clinging to its reference to ‘discretion.’” [DE30 at 26] That contention fails for
two reasons. First, as DeSantis seems to recognize through his own choice of words,

the statement is just that—a statement. It is not an office policy dealing with specific
abortion-related crimes in Florida. The statement was made on behalf of numerous
prosecutors; it makes no reference to any Florida law. Second, the Abortion
Statement does not even contain a blanket, categorical ban against all prosecution.
It is, on its face, readily distinguishable from Ayala’s “blanket ‘policy’ of not seeking
the death penalty in any eligible case.” 224 So.3d at 756.
      In short, DeSantis unlawfully suspended Warren simply for expressing his
political views and exercising prosecutorial discretion as he was required to do.

             2.     Sovereign immunity does not bar this claim where DeSantis,
                    not the State, is the real party in interest and where DeSantis
                    acted ultra vires in suspending Warren.
      Seeking to deflect this Court’s scrutiny away from the merits of his state law
claim, DeSantis (at 18) urges this Court not to reach it because of “[t]he Governor’s
sovereign immunity” under the Eleventh Amendment. But sovereign immunity

governs claims against the sovereign: the State of Florida. It does not bar claims




                                           17
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 18 of 31




against state officials where, as here, the sovereign is not the real party in interest.
Nor does it bar claims where, as here, the official is acting beyond his legal authority.

DeSantis himself, not the State of Florida, acted illegally against Warren; DeSantis
cannot hide from his actions under the mantle of Florida’s sovereign immunity.
      As DeSantis fails to recognize, sovereign immunity protects the sovereignty
of States. The Eleventh Amendment is interpreted “in light of its history and
structure, to preserve the States’ traditional immunity from private suits.” Franchise
Tax Bd. of Cal. v. Hyatt, 139 S.Ct. 1485, 1496 (2019) (citation omitted).

      Under this “traditional immunity,” “no suit or action can be brought against
the king, even in civil matters, because no court can have jurisdiction over him.” Id.
at 1493 (quoting 1 W. Blackstone, Commentaries on the Laws of England 235
(1765)). But DeSantis is not a king. For purposes of sovereign immunity, the
sovereign is the State of Florida; thus, as DeSantis himself even acknowledges (at 20
n.6), “[t]he Eleventh Amendment bars a suit against state officials when ‘the state is
the real, substantial party in interest.’” Pennhurst State Sch. & Hosp. v. Halderman,
465 U.S. 89, 101 (1984) (citation omitted). A suit “directed only at state officials
and not at the State itself or any agency of the State,” by comparison, “is not barred
by the Eleventh Amendment as a direct action against the State.” Fla. Dep’t of State
v. Treasure Salvors, Inc., 458 U.S. 670, 691–92 (1982) (plurality); see also Lewis v.
Clarke, 137 S.Ct. 1285, 1288 (2017) (holding where the sovereign’s agent “is the
real party in interest,” “sovereign immunity is not implicated”).
      So, “in the context of lawsuits against state . . . employees or entities, courts
should look to whether the sovereign is the real party in interest.” Lewis, 137 S.Ct.


                                           18
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 19 of 31




at 1290. “[T]he general rule is that relief sought nominally against an officer is in
fact against the sovereign if the decree would operate against the latter.” Pennhurst,

465 U.S. at 101 (citation omitted); accord Lewis, 137 S.Ct. at 1292–93 (“The critical
inquiry is who may be legally bound by the court’s adverse judgment, not who will
ultimately pick up the tab.”).
       Separately, though relatedly, “it is plain ‘that the Eleventh Amendment does
not bar an action against a state official that is based on a theory that the officer acted
beyond the scope of his statutory authority or, if within that authority, that such

authority is unconstitutional,’”—i.e., the officer acted ultra vires. Word of Faith
World Outreach Ctr. Church, Inc. v. Morales, 986 F.2d 962, 966 (5th Cir. 1993)
(quoting Treasure Salvors, 458 U.S. at 689). State officers may act ultra vires, for
example, where they “acted without legitimate authority in withholding the property
at issue,” Treasure Salvors, 458 U.S. at 692, or “where the state official’s actions
are alleged to be unauthorized by state law,” Word of Faith, 986 F.2d at 966 n.5.
      “In light of the principles set forth above, the proper resolution of the Eleventh
Amendment issue raised in this case requires an answer to each of [two] specific
questions[.]” Treasure Salvors, 458 U.S. at 690. First, “[i]s this action asserted
against officials of the State or is it an action brought directly against the State of
Florida itself?” Id. Second, “[d]oes the challenged conduct of state officials
constitute an ultra vires or unconstitutional withholding of property or merely a
tortious interference with property rights?” Id.




                                            19
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 20 of 31




                    a)    Sovereign immunity does not bar this suit because
                          Florida is not the real party in interest.
      The only real, substantial defendant in interest is DeSantis, not the State of

Florida. Because Warren seeks an order directing DeSantis to rescind his Order—as
only he may do, see Fla. Const. art. IV, § 7(a)—DeSantis, only, would “be legally
bound by the court’s adverse judgment,” Lewis, 137 S.Ct. at 1292–93. That is the

nature of quo warranto; “[it] is used ‘to determine whether a state officer or agency
has improperly exercised a power or right derived from the State.’” League of
Women Voters of Fla., 232 So.3d at 265 (citation and emphasis omitted). The writ
would not, and could not, run against the State itself. See State ex rel. Landis v.
Prevatt, 148 So. 578, 579–80 (Fla. 1933) (“Under the common law the writ of quo
warranto was directed against one who usurped or obtained any office, franchise, or
liberty of the crown, and would also lay in cause of nonuser, or long neglect of a
franchise or misuser or abuse of it.”). Warren’s claim therefore is unlike, for
example, Eleventh Amendment-barred claims against state officers “seeking to

impose a liability which must be paid from public funds in the state treasury.”
Edelman v. Jordan, 415 U.S. 651, 663 (1974).
      Further demonstrating that this suit is not against the sovereign, Warren sues

DeSantis in part in his individual capacity. [DE1 at 1] “The identity of the real party
in interest dictates what immunities may be available.” Lewis, 137 S.Ct. at 1291. In
fact, “‘officers sued in their personal capacity come to court as individuals,’ and the

real party in interest is the individual, not the sovereign.” Id. (internal citation
omitted). “But sovereign immunity ‘does not erect a barrier against [such] suits




                                          20
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 21 of 31




. . . [,]’” as courts have held repeatedly. Id. Because this suit is in part against
DeSantis “in his individual capacity,” “sovereign immunity is not implicated.” Id. at

1288; see Word of Faith, 986 F.2d at 965 (holding that the Eleventh Amendment did
not bar a suit challenging the Texas Attorney General’s exercise of his powers in an
investigation, where he “was acting in his individual capacity for purposes of
Eleventh Amendment immunity”).
      For these reasons, “[i]t is clear that the process at issue [is] directed only at
state officials and not at the State itself or any agency of the State.” Treasure Salvors,

458 U.S. at 691. DeSantis serves the people of Florida, but he is not himself the State
of Florida. He therefore is “the real, substantial party in interest.” Pennhurst, 465
U.S. at 101 (citation omitted).

                    b)     Sovereign immunity does not bar this suit because
                           DeSantis acted ultra vires in suspending Warren.
      A further, independent basis on which DeSantis’s claim of immunity must fail
is that he acted ultra vires in suspending Warren. As established above, see supra
Part I.B.1, DeSantis exceeded his powers in suspending Warren for reasons that fail
as a matter of law under Florida’s Constitution. Neither signing the Joint Statements,
nor issuing charging guidelines for prosecutors, can qualify as “incompetence” or
“neglect of duty” under Florida law. Warren has and will exercise the very duty that
Florida law requires: prosecutorial discretion. DeSantis’s Order had “no ‘colorable
basis’” and therefore was ultra vires. Pennhurst, 465 U.S. at 101 n.11 (citation
omitted); see also Larson v. Domestic & Foreign Com. Corp., 337 U.S. 682, 701–
02 (“[T]he action of an officer of the sovereign (be it holding, taking or otherwise



                                           21
      Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 22 of 31




legally affecting the plaintiff’s property) can be regarded as so ‘illegal’ as to permit
a suit for specific relief against the officer as an individual only if it is not within the

officer’s statutory powers or, if within those powers, only if the powers, or their
exercise in the particular case, are constitutionally void.”).
       Accordingly, because “the real, substantial party in interest” for Warren’s quo
warranto claim is DeSantis rather than the State of Florida and because DeSantis’s
Order was ultra vires, sovereign immunity does not apply to this claim.11

II.    DeSantis’s other attempts to convince this Court not to hear this case are
       without merit.
       DeSantis also urges this Court not to hear this case for several other reasons.
None have merit.

       A.     No principle of comity or federalism excuses this Court from
              hearing the case.
       DeSantis wrongly insists that “principles of federalism and comity” would be
“flout[ed]” if this Court hears Warren’s claims (at 28–32).




       11
          In one sentence, DeSantis contends that the Court “should decline to
exercise supplemental jurisdiction” over this quo warranto claim. [DE30 at 20] This
Court has “supplemental jurisdiction over all state claims which arise out of a
common nucleus of operative fact with a substantial federal claim.” Parker v. Scrap
Metal Processors, Inc., 468 F.3d 733, 743 (11th Cir. 2006). Here, of course, the
Court has subject-matter jurisdiction over Warren’s First Amendment claim. See 28
U.S.C. § 1331. And both this claim concerning DeSantis retaliating against Warren
and the quo warranto claim concerning DeSantis unlawfully suspending Warren
“arise out of a common nucleus of operative fact.” Parker, 468 F.3d at 743. DeSantis
offers no other reason to decline jurisdiction, so this Court should not “hunt[]” for
one. United States v. Dunkel, 927 F.2d 955, 956 (7th Cir. 1991).


                                            22
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 23 of 31




             1.     Younger abstention is inappropriate because the senate
                    suspension hearing is not “ongoing,” not “judicial,” and
                    inadequate to raise the constitutional claim here.
      Younger abstention would be inappropriate here. “Federal courts have a
virtually unflagging obligation to exercise their jurisdiction except in those
extraordinary circumstances where the order to the parties to repair to the State court
would clearly serve an important countervailing interest.” For Your Eyes Alone, Inc.

v. City of Columbus, 281 F.3d 1209, 1216 (11th Cir. 2002) (citation omitted).
Attentive to the principles of equity, comity, and federalism, the Supreme Court in
Younger v. Harris recognized an exception to this unflagging obligation. 401 U.S.
37, 43–44 (1971). The Younger Court held that federal courts should abstain from
suits aimed at restraining pending state criminal prosecutions. Id. at 42. Since
Younger, of course, the Supreme Court has clarified that abstention is proper not
only in cases of pending criminal proceedings, but also in “noncriminal judicial
proceedings when important state interests are involved.” Middlesex Cnty. Ethics
Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 432 (1982) (emphasis added). But
the “[c]ircumstances fitting within the Younger doctrine . . . are ‘exceptional.’”
Sprint Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 73 (2013) (citation omitted).
      Though DeSantis’s brief acknowledges the proper three-part test for Younger
abstention (at 28–29), DeSantis fails to apply the test to the facts of this case. First,
the Florida Senate proceeding is not “ongoing”; indeed it has not even started. The
Senate’s own rules make clear that the Senate “shall institute action by transmitting
a notice of hearing” “[u]nless suspension proceedings are held in abeyance[.]” Fla.
Senate R. 12.9(1). Here, proceedings are in abeyance and thus no such notice of



                                           23
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 24 of 31




hearing was ever transmitted. See Fla. Senate, Session: Executive Suspensions (Sess.
2023), https://www.flsenate.gov/Session/ExecutiveSuspensions/2023; see also

Letter from Debbie Brown, Florida Senate Secretary, to Andrew Warren (Aug. 17,
2022), https://www.flsenate.gov/usercontent/session/executivesuspensions/Warren
_Andrew/081722AndrewWarrenNoticeofAbeyance.pdf. Action in the Senate has

not been “institute[d],” and even if it had been “Younger abstention is inapplicable
because the state proceedings were automatically stayed . . . [.]” Villasmil v.
CitiMortgage, Inc., No. 1:11-CV-2055, 2012 WL 13012570, at *3 (N.D. Ga. Mar.
6, 2012) (citing Maseda v. Honda Motor Co., 861 F.2d 1248, 1256 n.13 (11th Cir.
1988)).
      Second, DeSantis himself acknowledges that the Senate proceeding is not
“judicial” such that Younger abstention can apply. He states unequivocally (at 36)
that “[t]he propriety of the Governor’s suspension order . . . is a question for
Florida’s political branches.” See also, e.g., The Federalist No. 65, at 396 (Alexander
Hamilton)     (Clinton     Rossiter     ed.,    1961),    https://babel.hathitrust.org/
cgi/pt?id=uc1.32106001170155&view=1up&seq=346&skin=2021 (Trials in the
senate concern “[o]ffenses which proceed from the misconduct of public men, or in

other words from the abuse or violation of some public trust. They are of a nature
which may with peculiar propriety be denominated POLITICAL, as they relate chiefly
to injuries done immediately to the society itself.”).

      Third, even if Senate proceedings were ongoing and judicial, which they are
not, they would still be substantively inadequate to vindicate Warren’s constitutional
rights. To say that a federal court must refuse to hear Warren’s constitutional


                                          24
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 25 of 31




challenge because a political body, which has no ongoing proceeding, which is
vested with no part of the State’s judicial power, and which is, among other things,

permitted at its own choosing to conduct its proceedings in secret, might later
consider his case, would turn the narrow exception of Younger on its head. See Fla.
Senate R. 12.2 (“The Senate may resolve itself into executive session for the sole
purpose of considering appointment, removal, or suspension. No one shall be in
attendance except Senators, the Secretary, and staff as approved by the President,
who shall be sworn not to disclose any executive business without consent of the

Senate.”).

             2.    DeSantis’s other avoidance arguments fail.
      DeSantis also argues (at 31–33) that other abstention or “federalism
principles” bar this Court from hearing Warren’s case. These arguments fare no

better than his Younger claim. DeSantis contends that so-called Pullman abstention
means this Court should decline to consider Warren’s claims. But Pullman
abstention applies, if at all, only “when there exists an unclear issue of state law
whose resolution might moot the federal constitutional question or present it in a
substantially different light.” Jones v. DeSantis, 410 F.Supp.3d 1284, 1292 (N.D.
Fla. 2019), aff’d sub nom. Jones v. Governor of Fla., 950 F.3d 795 (11th Cir. 2020).
Here, there is no “unclear issue of state law” much less one that “might moot the
federal constitutional question.” The First Amendment claim is independent of the
quo warranto claim.

      With his Younger and Pullman claims failing, DeSantis (at 31) also tries to
convince this Court that it lacks the power to grant the relief Warren seeks. But in


                                        25
       Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 26 of 31




the very case DeSantis relies on for this odd proposition, the Supreme Court made
clear that where, as here, “challenges to state action . . . have rested on claims of

constitutional deprivation which are amenable to judicial correction, this Court has
acted upon its view of the merits of the claim.” Baker v. Carr, 369 U.S. 186, 229
(1962) (footnote omitted). And while DeSantis is right that Baker cited examples in
which federal courts have declined to enjoin state officer removal proceedings,
Warren doesn’t seek that remedy here. Warren seeks an injunction requiring
DeSantis to rescind his unlawful Order. DeSantis points to no authority, and Warren

knows of none, establishing that a federal court cannot order an official to rescind
an unlawful order. Indeed, the authority is to the contrary. See, e.g., Reams v. Scott,
No. 18cv154, 2018 WL 5809967, at *5 (N.D. Fla. Nov. 6, 2018) (granting
“injunction bind[ing] the Governor” and requiring him to remedy, including by
vacating his order of suspension, the unconstitutional deprivation of due process in
elected official’s suspension).

III.    Warren is otherwise entitled to injunctive relief.

        A.    Warren will suffer irreparable harm absent relief.
        Absent an injunction, Warren will continue to suffer at least two irreparable
harms: (1) removal from his public office and (2) loss of his First Amendment

freedoms.
        First, and most plainly “[r]emoval from office is not the type of injury which
can be compensated monetarily.” Caudell v. City of Toccoa, 153 F.Supp.2d 1371,
1381 (N.D. Ga. 2001) (alteration in original) (quoting Hunt v. City of Longview, 932
F.Supp. 828, 842 (E.D. Tex. 1995)). In response, DeSantis argues only (at 34–35)


                                          26
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 27 of 31




that Warren’s suspension can be compensated through money damages because he
will be entitled to his withheld salary if he is reinstated.

      But loss of salary is not the only injury resulting from Warren’s suspension,
and Warren has never claimed irreparable injury based on that. There are wide-
ranging effects of removal from office—including, as has occurred in this case, the
loss of entitlement to elected office, termination of staff, change in policies, and
other changes in the shape of the office. [See DE3-1 at 28–29; see also Sheet Metal
Workers’ Int’l Ass’n, 488 U.S. at 355 (“[W]hen an elected official . . . is removed

from his post, the [individuals they represent] are denied the representative of their
choice . . . [The] removal deprived the membership of his leadership, knowledge,
and advice at a critical time.”)] DeSantis does not dispute Warren has suffered any
of these effects because of the suspension, nor does he dispute that such effects
cannot be compensated monetarily.
      Second, this Circuit has expressly held that “[t]he loss of First Amendment
freedoms, for even minimal periods of time, unquestionably constitutes irreparable
injury.” KH Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1272 (11th Cir. 2006)
(alteration in original) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976). Further,
this case involves “direct penalization, as opposed to incidental inhibition, of First
Amendment rights” and therefore suffices to constitute “irreparable injury” under
controlling case law. Cate v. Oldham, 707 F.2d 1176, 1188 (11th Cir. 1983).
      Contrary to this authority, DeSantis argues (at 34) that the First Amendment
injury does not support irreparable injury because “[d]irect penalization” amounts to
“irreparable injury only when it ‘chill[s]’ future speech” and in this case Warren’s


                                           27
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 28 of 31




speech cannot and has not been chilled. This argument is flawed both legally and
factually.

      This Circuit has expressly rejected the argument “that only if a plaintiff can
prove actual, current chill can he prove irreparable injury.” Id. at 1189. “On the
contrary, direct retaliation by the state for having exercised First Amendment

freedoms in the past[,]” as here, “is particularly proscribed by the First Amendment”
and supports irreparable injury. Id.12
      In all events, Warren’s speech has been chilled. For instance, were Warren
reinstated, he would fear further suspensions from DeSantis based on his speech.
See, e.g., Barrett v. Walker Cnty. Sch. Dist., 872 F.3d 1209, 1229 (11th Cir. 2017)
(holding that plaintiff suffered irreparable injury where “[h]is right to speak at the
. . . [school board] meeting was violated and his right to speak at future meetings
was chilled and could be prevented altogether [through defendants’ actions]”).

      B.     The public interest and balance of equities favor an injunction.
      Finally, the balance of equities and public interest favor an injunction. Indeed,
“[t]he vindication of constitutional rights . . . serve[s] the public interest almost by
definition.” League of Women Voters of Fla. v. Browning, 863 F.Supp.2d 1155, 1167
(N.D. Fla. 2012). Further, the public interest is served by “having the will of [the]


      12
         Indeed, the Eleventh Circuit has held that all direct infringements of First
Amendment rights constitute irreparable injury, without qualification. See, e.g., KH
Outdoor, LLC, 458 F.3d at 1272. DeSantis challenges this authority (at 34 n.12),
citing to cases holding that not all types of constitutional violations constitute
irreparable injury. Warren does not dispute that, under Eleventh Circuit law, not all
constitutional violations constitute irreparable injury. But the First Amendment
differs.


                                          28
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 29 of 31




voters . . . carried out.” Guzzo v. Mead, No. 14-CV-200, 2014 WL 5317797, at *6
(D. Wyo. Oct. 17, 2014).

      In response, DeSantis argues (at 35) that Warren has categorically decided not
to prosecute crimes, citing nothing. Warren has not; the evidence is clear that he has
long directed his office to exercise discretion in every case. [DE3-2 ¶¶ 4–5] Further,
DeSantis argues (at 35) that it will be an administrative burden that will “sow further
confusion.” Any administrative burdens and uncertainty that come with switching
leadership are DeSantis’s own doing. And such burdens do not justify DeSantis

unconstitutionally violating Warren’s rights. See Taylor v. Louisiana, 419 U.S. 522,
535 (1975) (“administrative convenience” cannot justify practices that impinge upon
fundamental rights); Johnson v. Halifax County, 594 F.Supp. 161, 171 (E.D.N.C.
1984) (“[A]dministrative and financial burdens on the defendant . . . are not
. . . undue in view of the otherwise irreparable harm to be incurred by plaintiffs.”).

                                     Conclusion

      For these reasons, this Court should grant Warren’s Motion for a Preliminary
Injunction and should direct DeSantis to rescind his Executive Order, reinstate
Warren as State Attorney, and enjoin DeSantis from any further unlawful action.

Relatedly, the Court should deny DeSantis’s Motion to Dismiss.




                                          29
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 30 of 31




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          LOCAL RULE 7.1(F) CERTIFICATE OF COMPLIANCE
      I certify that this Consolidated Reply in Support of Motion for Preliminary
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                                             /s/ Jean-Jacques Cabou



                                        30
     Case 4:22-cv-00302-RH-MAF Document 46 Filed 09/09/22 Page 31 of 31




                       CERTIFICATE OF SERVICE

      I hereby certify that on September 9, 2022, a true and correct copy of the
foregoing document was served upon all counsel of record via the Court’s CM/ECF

System for filing.

                                           /s/ Stephanie Lawson




                                      31
